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                                         #: 5569



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 AKOUSTIS TECHNOLOGIES, INC.,
 AKOUSTIS, INC., CORNELL UNIVERSITY,
 AND CORNELL RESEARCH FOUNDATION, Civil Action No. 2:23-cv-180-JRG-RSP
 INC.,

               Plaintiff,
                                                     JURY TRIAL
        vs.

 QORVO, INC.,

               Defendant.


         ORDER ON JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        Before the Court is the Parties’ Joint Stipulation of Dismissal with Prejudice dismissing

 with prejudice all claims, counterclaims, and affirmative defenses asserted by Akoustis

 Technologies, Inc., Akoustis, Inc., Cornell University, Cornell Research Foundation, Inc., and

 Qorvo, Inc., and with each party bearing its own costs and attorneys’ fees. Having considered the

 Joint Stipulation, the Court ORDERS the dismissal with prejudice of all claims, counterclaims,

 and affirmative defenses asserted by Akoustis Technologies, Inc., Akoustis, Inc., Cornell

 University, Cornell Research Foundation, Inc., and Qorvo, Inc., and with each party bearing its

 own costs and attorneys’ fees.
